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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

INVESTIGATIVE CONCEPTS, INC.,    )
                                 )
               Plaintiff,        )
                                 )
        v.                       )                       Case No. CIV-18-311-SLP
                                 )
FIRST MERCURY INSURANCE COMPANY, )
et al.,                          )
                                 )
               Defendants.       )

                        ADMINISTRATIVE CLOSING ORDER

       On the representation from counsel, the parties have reached a settlement and

compromise, it is ordered that the Clerk administratively terminate this action in her

records without prejudice to the rights of the parties to reopen the proceeding for good

cause shown, for the entry of any stipulation or order, or for any other purpose required to

obtain a final determination of the litigation.

       If the parties have not reopened this case within 45 days of this date for the purpose

of dismissal pursuant to the settlement compromise, Plaintiff’s action shall be deemed to

be dismissed.

       IT IS SO ORDERED this 11th day of June, 2019.
